              Case 2:02-cr-00213-MCE Document 342 Filed 03/27/08 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            Nos.    CR S-02-0213-MCE-CMK
                                                                  CIV S-07-2724-MCE-CMK
12                  Respondent,

13          vs.                                           ORDER

14   MIGUEL HERNANDEZ-MUNGUIA,

15                  Movant.

16                                           /

17          Movant, a federal prisoner proceeding pro se, brings this motion to correct or set aside a

18   criminal judgment pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to Eastern District of California local rules.

20          On February 15, 2008, the magistrate judge filed findings and recommendations herein

21   which were served on the parties and which contained notice that the parties may file objections

22   within a specified time. No objections to the findings and recommendations have been filed.

23          The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge's analysis.

25   ///

26   ///

                                                      1
              Case 2:02-cr-00213-MCE Document 342 Filed 03/27/08 Page 2 of 2




 1          Accordingly, IT IS HEREBY ORDERED that:

 2          1.      The findings and recommendations filed February 15, 2008, are adopted in full;

 3          2.      Respondent’s motion to dismiss (Doc. 333 in the criminal docket) is denied; and

 4          3.      Respondent shall file a response on the merits of movant’s § 2255 motion within

 5   30 days of the date of this order.

 6
      Dated: March 26, 2008
 7
                                                 ________________________________
 8                                               MORRISON C. ENGLAND, JR.
                                                 UNITED STATES DISTRICT JUDGE
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                    2
